Case 4:04-cr-00035-BRW Document 471 Filed 06/05/08 Page 1 of 8
Case 4:04-cr-00035-BRW Document 471 Filed 06/05/08 Page 2 of 8
Case 4:04-cr-00035-BRW Document 471 Filed 06/05/08 Page 3 of 8
Case 4:04-cr-00035-BRW Document 471 Filed 06/05/08 Page 4 of 8
Case 4:04-cr-00035-BRW Document 471 Filed 06/05/08 Page 5 of 8
Case 4:04-cr-00035-BRW Document 471 Filed 06/05/08 Page 6 of 8
Case 4:04-cr-00035-BRW Document 471 Filed 06/05/08 Page 7 of 8
Case 4:04-cr-00035-BRW Document 471 Filed 06/05/08 Page 8 of 8
